                                                        UNITED STATES BANKRUPTCY COURT
                                                      EASTERN     DISTRICT OF MICHIGAN


In re                                                                                                                      Case No.   4:13-bk-32994
         Cheryl L Silvers
                                                                                                                           Chapter    7
                                                                                                                           Hon.

                                                                                                                   / Debtor


                                                          STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                                  PURSUANT TO F.R.BANKR.P.2016(b)

        The undersigned, pursuant to F.R.Bankr.P.2016(b), states that:

1.      The undersigned is the attorney for the Debtor(s) in this case.

2.      The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]

        [✔]           FLAT FEE

        A.            For legal services rendered in contemplation of and in connection with this case, exclusive
                      of the filing fee paid                                        1,000

        B.            Prior to filing this statement, received                               1,000

        C.            The unpaid balance due and payable is                                      0

        [ ]           RETAINER

        A.            Amount of retainer received

        B.            The undersigned shall bill against the retainer at an hourly rate of                            . [Or attach firm hourly rate schedule.] Debtor(s)
                      have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

3.      $                            of the filing fee has been paid.



4.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Check any that apply.]

             ✔ A.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
             ✔ B.     Preperation and filing of any petition, schedules, statement of affairs and plan which may be required;
             ✔ C.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
               D.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
             ✔ E.     Reaffirmations;
             ✔ F.     Redemptions;
               G.     Other:


5.      By agreement with the debtor(s), the above disclosed fee does not include the following services:



6.      The source of the payments to the undersigned was from:

        A.                     Debtor(s)' earnings, wages, compensation for services performed
        B.             ✔       Other (describe, including the identity of payor)       Debtors boyfriend.
7.      The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or corporation,
        any compensation paid or to paid except as follows:




        Dated:      9/3/13                                                                           /s/ CURTIS L. ZALESKI
                                                                                                     Attorney for the Debtor(s) CURTIS L. ZALESKI
                 /s/ Cheryl L Silvers                                                           ASHLEY & ZALESKI,P.C.                         Bar #: P 53534
        Agreed: _________________________________________
                 Debtor Cheryl L Silvers
                                                                                                535 EAST MAIN STREET                    Curtis@azlaw.us
                                                                                                Owosso , Mi 48867
                     13-32994-dof              Doc 8             Filed 09/04/13         Entered  09/04/13 09:35:57
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                 Debtor                                                                         Curtis@azlaw.us
